






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00099-CV







Johnny Cantu, Feliberto De La Garza, John Epperson, Leslie Hutchison, Roger Hutchison,
Roel R. Morin, Alan Rice, Luciano Sanchez, Rodolfo R. Sanchez, David Torres and W. A.
Westerkom, Yandell, Reynaldo Zarate, and Lazaro P. Zaragoza, Appellants


v.


Gray &amp; Becker, P.C., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. GN103879, HONORABLE JOHN K. DIETZ, JUDGE PRESIDING



	

O R D E R



PER CURIAM

		Appellants' motion to consolidate this appeal with other related appeals is overruled.
Gray &amp; Becker's motion to show authority and motion to dismiss are overruled.  Gray &amp; Becker's
motion to strike the appellants' motion to consolidate in this case is dismissed.  Gray &amp; Becker's
motion for sanctions in this case remains pending.  Appellants' motion and amended motion to
reverse orders on discovery with motion for protective order are dismissed.

		The parties are instructed that if any further motions are filed they are to be filed
singly in each cause number.  

		It is ordered May 2, 2002.


Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Do Not Publish


